Case 2:10-md-02179-CJB-DPC Document 6562-3 Filed 05/21/12 Page 1 of 2

AG 440 (Rev, 12/09) Summons ina Civil Action

UNITED STATES DISTRICT COURT

fer the

Eastern District of Louisiana

Jared Shane Elrod, Malcolm Coco, Troy Sens, &
Derrick McMillen

Plaintiff
Vv. Civil Action No. 2:12-cv-981-CJB-5S

BP Exploration & Production Inc., et al

Nea Ce ee Se ee!

Defendant

SUMMONS EN A CIVIL ACTION

To: (Defendant's name and address) BP America Production Company
through its registered agent for service
CT Corporation
5615 Corporate Blvd; Ste 400B
Baton Rouge, LA 70808

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it} — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Salvadore Christina, Jr.

Becnel Law Firm
P.O.Drawer H
Reserve, LA 70084

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 2:10-md-02179-CJB-DPC Document 6562-3 Filed 05/21/12 Page 2 of 2

AQ 440 Rev, 12/09) Summaens in a Civil Action (Page 2)

Civil Action No. 2:12-ev-981-CJB-SS

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (0)

This summons for frame of individual and tite, if any)

was received by me on (date)

( I personally served the summons on the individual at (place)

on (date) ; or

CF | left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

On (dare) and mailed a copy to the individual’s last known address; or

C I served the summons on (aame of individual) , who is

designated by flaw to accept service of process on behalf of (mcane of organization)

On (elate} ; or
[returned ihe summons unexecuted because or
G Other (specify:
My fees are $ for travel and $ for services, for a total of $ 0.00

i declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed namie and fitle

Server's address

Additional information regarding attempted service, etc:
